                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

TAYLOR NICHOLE LEONARD,                         )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )
                                                )
NABER SUBWAY, INC.,                             )
                                                )
        Serve: Gary Naber,                      )      Case No. _____________
                                                                 7:18CV565
             Registered Agent,                  )
             196 Queens Knob                    )
             Wytheville, VA 24382               )
                                                )
and                                             )
                                                )
DOCTOR’S ASSOCIATES, INC.                       )
d/b/a SUBWAY IP, INC.,                          )
d/b/a SUBWAY                                    )
                                                )      JURY TRIAL DEMAND
        Serve: Robert A. Payne,                 )
             Registered Agent                   )
             11320 Random Hills Rd,             )
             Suite 690                          )
             Fairfax, VA 22030                  )
                                                )
        Defendants.                             )

                                     COMPLAINT

        COMES NOW, Plaintiff Taylor Nichole Leonard, by counsel, and states as her

Complaint against Naber Subway, Inc. (“Naber Subway”) and Doctor’s Associates, Inc.

d/b/a Subway IP, Inc., d/b/a Subway (“DA”), the following:


                             I. Jurisdiction and Venue

        1.    The Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1331, as Ms. Leonard has suffered discrimination and retaliation, in violation of

federal law, pursuant to the Genetic Information Nondiscrimination Act of 2008, as



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codified under 42 U.S.C. §§ 2000ff, et seq. (“GINA”) and discrimination and retaliation,

in violation of the Americans with Disabilities Act, as codified under 42 U.S.C. §§ 12101,

et seq (“ADA”).

       2.     Ms. Leonard is a resident of Bland County, Virginia.

       3.     Naber Subway is a corporation incorporated under the laws of the

Commonwealth of Virginia and maintains its principal place of business in Wythe County,

Virginia.

       4.     DA is a corporation incorporated under the laws of the State of Connecticut

with a principal place of business in the State of Connecticut. DA has extensive business

contacts within the Commonwealth of Virginia and derives significant revenue from its

operations within Virginia, subjecting it to personal jurisdiction under the Virginia Long

Arm Statute, Va. Code Ann. § 8.01-328.1.

       5.     Venue is proper in this Court as a substantial portion of the acts and/or

omissions that gave rise to Ms. Leonard’s claims occurred in Bland County, Virginia,

which is within the geographic bounds of this District. See 28 U.S.C. § 1391(b)(2); Western

District of Virginia Local Rule 2(a)(7).

       6.     Ms. Leonard timely filed a Charge of Discrimination with the EEOC. Upon

exhausting her administrative remedies, Ms. Leonard received a Notice of Right to Sue, a

true and accurate copy of which is attached hereto as EXHIBIT A.

                                           II. Facts

       7.     At all times relevant to this Complaint, Ms. Leonard’s direct supervisor was

Gary Naber, owner of Naber Subway.

       8.     Mr. Naber is a franchisee of two Subway locations directly from DA, located

in Bland and also Wytheville, Virginia.



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      9.       During her time at Naber and DA, Ms. Leonard performed her job duties

competently.

      10.      At all times relevant to this Complaint, Ms. Leonard was under the age of

eighteen (18).

      11.      DA provides significant training and oversight of its franchisees.

      12.      Upon information and belief, DA sets requirements for its franchisee’s

businesses, such as participation in charitable acts related to nutrition of lower income

individuals and training and oversight requirements of Sandwich Artists, who are those

individuals that actually create sandwiches and serve customers, and other supervisory

employees.

      13.      Further, DA requires that franchisees purchase food products, restaurant

equipment, and marketing material exclusively from DA. Such food products are the

items in which Naber Subway and DA gain a significant portion of their revenue.

                       Ms. Leonard Suffers From A Disability

      14.      Ms. Leonard constantly received praise and regularly worked a significant

number of hours per week.

      15.      Ms. Leonard has suffered from migraine headaches for a number of years.

      16.      Migraine is a chronic condition affecting the brain and/or vascular system

that affects major life functions, such as concentration and thinking. Migraine headaches

produce symptoms such as severe sensitivity to light and sound. These symptoms can

induce vomiting and vision problems.

      17.      Migraine headaches are typically controlled with medication. Stress causes

the symptoms of migraine to be particularly severe and uncontrolled by medication. This

health issue is a recognized disability under the Americans with Disabilities Act (“ADA”).



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       18.    Alternatively, Ms. Leonard was regarded by Mr. Naber, Naber Subway, and

DA as having a disability.

       19.    Ms. Leonard was able to perform her employment functions with few

accommodations.

  Ms. Leonard Worked With Her Brother, Who Suffers From A Disability

       20.    Ms. Leonard is the minor sister of Justin Tyler Leonard, who has

simultaneously filed a Complaint against Naber Subway and DA.

       21.    Mr. Leonard was diagnosed with mild Cerebral Palsy (“CP”) at age 13, but

likely had the condition since birth. CP is a brain injury or malformation that occurs prior

to or at birth. CP is a chronic, permanent condition that affects major life activities, such

as walking, talking, or thinking, due to loss of body movement control, muscle control,

muscle coordination, muscle tone, reflex, posture and balance. CP can also impact fine

motor skills, gross motor skills and oral motor functioning.

       22.    There is also a known genetic component that increases the risk that an

individual will be born with CP. Stress greatly increases the symptoms of CP. This health

issue is a recognized disability under the Americans with Disabilities Act (“ADA”).

        Ms. Leonard Suffers ADA and GINA Retaliation For Opposing
         Discrimination And Retaliation Taken Against Mr. Leonard

       23.    On or about January 30, 2017, Mr. Naber was visiting the Bland, Virginia

Subway location where Ms. Leonard worked.

       24.    Bland County, in which the town of Bland is located, has a total population

of approximately 7,000.

       25.    On or about January 30, 2017, Mr. Naber was visiting the Bland, Virginia

Subway location where Mr. Leonard worked.




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         26.   On or about that day, Mr. Naber had become aware that Mr. Leonard had

mild CP. Mr. Naber, without warning, summoned Mr. Leonard into the dining room of

the Bland Subway restaurant from behind the sandwich station.

         27.   In front of customers, Mr. Naber loudly exclaimed, “[Tyler], I hear you have

[CP].”

         28.   Mr. Naber, on or about the evening of that day, sent a text message to Ms.

Leonard asking her why she “did not warn” Mr. Naber of Mr. Leonard’s disability.

         29.   Specifically, Mr. Naber said, “[Ms. Leonard], you knew something was

‘wrong’ with your brother. Why didn’t you tell me,” or words of similar effect. Mr. Naber

went on to say and/or suggest that he would not have hired Mr. Leonard had Mr. Naber

known of Mr. Leonard’s disability.

         30.   From this date until Ms. Leonard’s forced resignation/constructive

discharge, Mr. Naber and Ms. Leonard’s shift leaders increasingly retaliated against Ms.

Leonard for not revealing that her brother, Mr. Leonard, had a disability.

         31.   On or about February 1, 2017, Mr. Leonard’s shift leader accused Mr.

Leonard of incorrectly preparing the bread used in the restaurant.

         32.   Later, Mr. Naber sent a series of text messages to Ms. Leonard complaining

about Mr. Leonard. Specifically, Mr. Naber suggested that Ms. Leonard had failed to abide

by her “promise” of ensuring Mr. Leonard’s “proper” work performance. Mr. Naber also

complained that Mr. Leonard could not log into the computer system properly, stating

that it was not “rocket science.”

         33.   On or about February 5, 2017, a customer asked for a different type of

sandwich after the customer placed his or her order. The shift leader accused Mr. Leonard




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of not “fixing the sandwich right” and sent Mr. Leonard home before the end of his

scheduled shift.

        34.   Again, after the incident with Mr. Leonard, Mr. Naber sent a series of

inappropriate text messages to Ms. Leonard. Mr. Naber complained about the state of his

business and how Ms. Leonard was a type of employee that would make him “broke.” Mr.

Naber also complained about Mr. Leonard’s disability being a “potential issue” that

required Ms. Leonard to disclose Mr. Leonard’s disability.

        35.   On or about February 12, 2017, Ms. Leonard was accused by a supervisory

employee of “helping [Mr. Leonard] cheat” on a discriminatory and retaliatory test that

Mr. Leonard was required to take.

        36.   Ms. Leonard was not scheduled, nor worked, the day Mr. Leonard took the

test.

        37.   Finally, on or about February 19, 2017, Ms. Leonard’s shift leader,

Stephanie, cited Ms. Leonard for failing to properly clean the Bland Subway restaurant

after the restaurant closed.

        38.   Ms. Leonard had never been cited for improperly cleaning the restaurant in

the approximately one (1) year that she was employed. Ms. Leonard protested that she

had cleaned the restaurant to DA guidelines. Shift Leader Stephanie issued an undeserved

written warning to Ms. Leonard.

              Ms. Leonard Revealed Her Disability to Management |
                    Did Not Receive An Accommodation Nor
                   Was Able To Engage In Interactive Process

        39.   Ms. Leonard began to experience increased frequency of migraine

headaches due to Mr. Naber’s conduct and retaliation.




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       40.    Ms. Leonard was suffering from increased frequency of migraine

headaches. These migraine headaches were not being controlled by her regularly

prescribed medication. Ms. Leonard also experienced severe hair loss due to the stress

created by this unlawful retaliation.

       41.    Ms. Leonard revealed her disability to her supervisor prior to her

constructive discharge.

       42.    Naber Subway, nor DA, engaged in the interactive process with Ms. Leonard

to determine what reasonable accommodation Ms. Leonard would require.

       43.    Upon information and belief, Ms. Leonard’s coworker, Caleb [last name

unknown], who also suffers from migraines, was permitted to be in an unpaid leave status

as an accommodation.

                      Ms. Leonard Constructively Discharged

       44.    On or about February 21, 2017, after suffering indignities and unfounded

disciplinary actions by her supervisors, Ms. Leonard was constructively discharged from

employment at Naber and DA.

       45.    Further, after Ms. Leonard’s resignation, Mr. Naber sent Ms. Leonard a text

message stating that she was “legally banned” from Naber franchises for “stirring up

trouble.”

       46.    Naber Subway is responsible for the actions of Gary Naber, Shift Leader

Stephanie, and others against Ms. Leonard based on the doctrine of respondeat superior

because these actions were taken within the scope of employment.

       47.    The short temporal proximity between the time Ms. Leonard opposed the

discrimination and retaliation suffered by her brother, and Mr. Naber knew or regarded




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Ms. Leonard as having a disability, and her constructive discharge from employment

supports Ms. Leonard’s claims for discrimination and retaliation.

      48.     The short temporal proximity between the time Mr. Naber knew or

regarded Ms. Leonard as having a disability and her constructive discharge from

employment supports Ms. Leonard’s claims for discrimination and retaliation.

      49.      As a direct and proximate result of Naber Subway’s actions, Ms. Leonard

has suffered and will continue to suffer pecuniary loss, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

                                       III. Counts

            Count I: Discrimination and Retaliation in Violation of the
                          Americans with Disabilities Act

      50.     Plaintiff incorporates by reference herein the preceding paragraphs of this

Complaint.

      51.     Ms. Leonard has suffered from migraine headaches for a number of years.

      52.     Migraine is a chronic condition affecting the brain and/or vascular system

that affects major life functions, such as concentration and thinking. Migraine headaches

produce symptoms such as severe sensitivity to light and sound. These symptoms can

induce vomiting and vision problems.

      53.     Migraine headaches are typically controlled with medication. Stress causes

the symptoms of migraine to be particularly severe and uncontrolled by medication. This

health issue is a recognized disability under the Americans with Disabilities Act (“ADA”).

      54.     Alternatively, Ms. Leonard was regarded by Mr. Naber, Naber Subway, and

DA as having a disability.




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       55.    Ms. Leonard was able to perform her employment functions with or without

accommodations.

       56.    Ms. Leonard is the minor sister of Justin Tyler Leonard, who has

simultaneously filed a Complaint against Naber Subway and DA.

       57.    Mr. Leonard was diagnosed with mild Cerebral Palsy (“CP”) at age 13, but

likely had the condition since birth. CP is a brain injury or malformation that occurs prior

to or at birth. CP is a chronic, permanent condition that affects major life activities, such

as walking, talking, or thinking, due to loss of body movement control, muscle control,

muscle coordination, muscle tone, reflex, posture and balance. CP can also impact fine

motor skills, gross motor skills and oral motor functioning.

       58.    There is also a known genetic component that increases the risk that an

individual will be born with CP. Stress greatly increases the symptoms of CP. This health

issue is a recognized disability under the Americans with Disabilities Act (“ADA”).

       59.    On or about January 30, 2017, Mr. Naber was visiting the Bland, Virginia

Subway location where Ms. Leonard worked.

       60.    On or about January 30, 2017, Mr. Naber had become aware that Mr.

Leonard had mild CP. Mr. Naber, on or about the evening of that day, sent a text message

to Ms. Leonard asking her why she “did not warn” Mr. Naber of Mr. Leonard’s disability.

       61.    Specifically, Mr. Naber said, “[Ms. Leonard], you knew something was

‘wrong’ with your brother. Why didn’t you tell me,” or words of similar effect. Mr. Naber

went on to say and/or suggest that he would not have hired Mr. Leonard had Mr. Naber

known of Mr. Leonard’s disability.




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       62.    From this date until Ms. Leonard’s forced resignation/constructive

discharge, Mr. Naber and Ms. Leonard’s shift leaders increasingly retaliated against Ms.

Leonard for not revealing that her brother, Mr. Leonard, had a disability.

       63.    On or about February 1, 2017, Mr. Leonard’s shift leader accused Mr.

Leonard of incorrectly preparing the bread used in the restaurant.

       64.    Later, Mr. Naber sent a series of text messages to Ms. Leonard complaining

about Mr. Leonard. Specifically, Mr. Naber suggested that Ms. Leonard had failed to abide

by her “promise” of ensuring Mr. Leonard’s “proper” work performance. Mr. Naber also

complained that Mr. Leonard could not log into the computer system properly, stating

that it was not “rocket science.”

       65.    Ms. Leonard began to experience increased frequency of migraine

headaches due to Mr. Naber’s conduct and retaliation.

       66.    On or about February 5, 2017, a customer asked for a different type of

sandwich after the customer placed his or her order. The shift leader accused Mr. Leonard

of not “fixing the sandwich right” and sent Mr. Leonard home before the end of his

scheduled shift.

       67.    Again, after the incident with Mr. Leonard, Mr. Naber sent a series of

inappropriate text messages to Ms. Leonard. Mr. Naber complained about the state of his

business and how Ms. Leonard was a type of employee that would make him “broke.” Mr.

Naber also complained about Mr. Leonard’s disability being a “potential issue” that

required Ms. Leonard to disclose Mr. Leonard’s disability.

       68.    Finally, on or about February 19, 2017, Ms. Leonard’s shift leader,

Stephanie, cited Ms. Leonard for failing to properly clean the Bland Subway restaurant

after the restaurant closed.



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       69.    Ms. Leonard had never been cited for improperly cleaning the restaurant in

the approximately one (1) year that she was employed. Ms. Leonard protested that she

had cleaned the restaurant to DA guidelines. Shift Leader Stephanie issued an undeserved

written warning to Ms. Leonard.

       70.    On or about February 21, 2017, Ms. Leonard was forced to resign her

employment at Naber and DA due to Mr. Naber’s and management’s unlawful retaliation.

       71.    Ms. Leonard was suffering from increased frequency of migraine

headaches. These migraine headaches were not being controlled by her regularly

prescribed medication. Ms. Leonard also experienced severe hair loss due to the stress

created by this unlawful retaliation. Further, after Ms. Leonard’s resignation, Mr. Naber

sent Ms. Leonard a text message stating that she was “legally banned” from Naber

franchises for “stirring up trouble.”

       72.    On or about February 21, 2017, after suffering indignities and unfounded

disciplinary actions by her supervisors, Ms. Leonard was constructively discharged from

employment at Naber and DA.

       73.    Naber Subway and DA would not have created an objectively intolerable

working environment, prompting Ms. Leonard’s constructive discharge, nor taken other

discriminatory and retaliatory actions against her but for her disability and/or need for

reasonable accommodations and/or her brother’s disability and/or need for reasonable

accommodations.

       74.     Indeed, Ms. Leonard’s constructive discharge from employment occurred

under circumstances that raise a reasonable inference of unlawful discrimination and

retaliation based upon her disability and/or requests for accommodations and/or her

brother’s disability and/or need for reasonable accommodations.



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       75.    Naber Subway and DA’s working conditions that precipitated Ms.

Leonard’s constructive discharge were pretextual and directly related to Naber Subway

and DA’s intent to discriminate and retaliate against Ms. Leonard due to her disability

and/or need for reasonable accommodations and/or her brother’s disability and/or need

for reasonable accommodations.

       76.     As a direct and proximate result of Naber Subway and DA’s actions, Ms.

Leonard has suffered and will continue to suffer pecuniary loss, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

       77.     At all times material hereto, Naber Subway and DA engaged in unlawful or

discriminatory practices with malice or reckless indifference to the federally protected

rights of Ms. Leonard so as to support an award of punitive damages.

       78.     The above-described acts by Naber Subway and DA and employees of

Naber Subway and DA constitute disability discrimination and retaliation in violation of

the ADA.

             Count II: Failure to Accommodate in Violation of the
                        Americans with Disabilities Act

       79.    Plaintiff incorporates by reference herein the preceding paragraphs of this

Complaint.

       80.    Ms. Leonard has suffered from migraine headaches for a number of years.

       81.    Migraine is a chronic condition affecting the brain and/or vascular system

that affects major life functions, such as concentration and thinking. Migraine headaches

produce symptoms such as severe sensitivity to light and sound. These symptoms can

induce vomiting and vision problems.




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      82.    Migraine headaches are typically controlled with medication. Stress causes

the symptoms of migraine to be particularly severe and uncontrolled by medication. This

health issue is a recognized disability under the Americans with Disabilities Act (“ADA”).

      83.    Alternatively, Ms. Leonard was regarded by Mr. Naber, Naber Subway, and

DA as having a disability.

      84.    Ms. Leonard was able to perform her employment functions with or without

accommodations.

      85.    Ms. Leonard revealed her disability to her supervisor prior to her

constructive discharge.

      86.    Naber Subway, nor DA, engaged in the interactive process with Ms. Leonard

to determine what reasonable accommodation Ms. Leonard would require.

      87.    Upon information and belief, Ms. Leonard’s coworker, Caleb [last name

unknown], who also suffers from migraines, was permitted to be in an unpaid leave status

as an accommodation.

      88.    Due to increasing discrimination and retaliation Ms. Leonard experienced

due to revealing her disability, Ms. Leonard was constructively discharged on or about

February 21, 2017.

      89.    Due to increasing discrimination and retaliation Ms. Leonard experienced

due to being related to Mr. Leonard, Ms. Leonard was constructively discharged on or

about February 21, 2017.

      90.    Naber Subway and DA would not have created an objectively intolerable

working environment, prompting Ms. Leonard’s constructive discharge, nor taken other

discriminatory and retaliatory actions against her but for her disability and/or need for




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reasonable accommodations and/or her brother’s disability and/or need for reasonable

accommodations.

       91.     Indeed, Ms. Leonard’s constructive discharge from employment occurred

under circumstances that raise a reasonable inference of unlawful discrimination and

retaliation based upon her disability and/or requests for accommodations and/or her

brother’s disability and/or need for reasonable accommodations.

       92.     Naber Subway and DA’s working conditions that precipitated Ms.

Leonard’s constructive discharge were pretextual and directly related to Naber Subway

and DA’s intent to discriminate and retaliate against Ms. Leonard due to her disability

and/or need for reasonable accommodations and/or her brother’s disability and/or need

for reasonable accommodations.

       93.      As a direct and proximate result of Naber Subway and DA’s actions, Ms.

Leonard has suffered and will continue to suffer pecuniary loss, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

       94.     At all times material hereto, Naber Subway and DA engaged in unlawful or

discriminatory practices with malice or reckless indifference to the federally protected

rights of Ms. Leonard so as to support an award of punitive damages.

       95.     The above-described acts by Naber Subway and DA and employees of

Naber Subway and DA constitute disability discrimination and retaliation in violation of

the ADA.

             Count III: Discrimination and Retaliation in Violation of
               Genetic Information Nondiscrimination Act of 2008

       96.    Plaintiff incorporates by reference herein the preceding paragraphs of this

Complaint.




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         97.    Ms. Leonard is the minor sister of Tyler Leonard, who has filed a

contemporaneous Complaint against Naber Subway and DA.

         98.    Mr. Leonard is a qualified individual with a disability, to-wit, mild Cerebral

Palsy. Mr. Leonard was diagnosed with this disability at age 13, but like had it since at or

before birth.

         99.    CP is a brain injury or malformation that occurs prior to or at birth. CP is a

chronic, permanent condition that affects major life activities, such as walking, talking, or

thinking, due to loss of body movement control, muscle control, muscle coordination,

muscle tone, reflex, posture and balance.

         100.   CP can also impact fine motor skills, gross motor skills and oral motor

functioning.

         101.   CP is known to have, at least in part, a genetic origin.

         102.   CP is a disease or disorder to manifest from a genetic origin, such that

individuals with CP are protected from discrimination and retaliation under GINA.

         103.   On or about January 30, 2017, Mr. Naber was visiting the Bland, Virginia

Subway location where Mr. Leonard worked.

         104.   On or about that day, Mr. Naber had become aware that Mr. Leonard had

mild CP. Mr. Naber, without warning, summoned Mr. Leonard into the dining room of

the Bland Subway restaurant from behind the sandwich station.

         105.   In front of customers, Mr. Naber loudly exclaimed, “[Tyler], I hear you have

[CP].”

         106.   Mr. Naber, and other supervisory employees, discriminated and retaliated

against Mr. Leonard due to his CP.




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       107.   Due to Ms. Leonard’s familial relation to Mr. Leonard, Ms. Leonard was

subject to multiple abusive text messages from Mr. Naber.

       108.   Ms. Leonard was further subject to unwarranted discipline by Mr. Naber

and other supervisory employees due to her familial relation with Mr. Leonard.

       109.   On or about February 21, 2017, after suffering indignities and unfounded

disciplinary actions by her supervisors, Ms. Leonard was constructively discharged from

employment at Naber and DA.

       110.   Naber Subway and DA would not have created an objectively intolerable

working environment, prompting Ms. Leonard’s constructive discharge, nor taken other

discriminatory and retaliatory actions against her but for her disability and/or need for

reasonable accommodations and/or her brother’s disability and/or need for reasonable

accommodations.

       111.    Indeed, Ms. Leonard’s constructive discharge from employment occurred

under circumstances that raise a reasonable inference of unlawful discrimination and

retaliation based upon her disability and/or requests for accommodations and/or her

brother’s disability and/or need for reasonable accommodations.

       112.   Naber Subway and DA’s working conditions that precipitated Ms.

Leonard’s constructive discharge were pretextual and directly related to Naber Subway

and DA’s intent to discriminate and retaliate against Ms. Leonard due to her disability

and/or need for reasonable accommodations and/or her brother’s disability and/or need

for reasonable accommodations.

       113.    As a direct and proximate result of Naber Subway and DA’s actions, Ms.

Leonard has suffered and will continue to suffer pecuniary loss, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary loss.



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        114.   At all times material hereto, Naber Subway and DA engaged in unlawful or

discriminatory practices with malice or reckless indifference to the federally protected

rights of Ms. Leonard so as to support an award of punitive damages.

        115.   The above-described acts by Naber Subway and DA and employees of

Naber Subway and DA constitute disability discrimination and retaliation in violation of

GINA.


        WHEREFORE, Plaintiff Taylor Nichole Leonard prays for judgement against

Defendants Naber Subway, Inc. and Doctor’s Associates, Inc. d/b/a Subway IP, Inc.,

d/b/a Subway and for equitable relief, compensatory, punitive damages, together with

prejudgment interest from the date of termination of Mr. Leonard’s employment, and for

costs and attorneys’ fees, and for such other and further relief as may be just and

equitable.




TRIAL BY JURY IS DEMANDED.


                                 Respectfully submitted,

                                 /s/ Thomas E. Strelka
                                 Thomas E. Strelka, Esq. (VSB# 75488)
                                 L. Leigh R. Strelka, Esq. (VSB # 73355)
                                 N. Winston West, IV, Esq. (VSB # 92598)
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